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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
               v.                             :       CRIMINAL NUMBER 20-392
                                              :
                                              :
SHAHIDUL GAFFAR                               :



                                            ORDER


       AND NOW, this 9th day of September, 2021, upon consideration of the Defendant's

Unopposed Motion for Temporary Modification of Conditions of Pretrial Release; it is hereby

ORDERED that said motion is granted, nunc pro tunc, and conditions be temporarily modified

to permit Defendant Shahidul Gaffar to travel to Pennsauken, New Jersey on September 6, 2021,

to provide essential catering services necessary for his restaurant business.



                                              BY THE COURT:


                                              __________________________________________
                                              THE HONORABLE JOSHUA D. WOLSON
                                              United States District Court Judge
